       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 1 of 10




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8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Branham Center LLC, a California          Act; Unruh Civil Rights Act
14     Limited Liability Company;
       Thuy Truong
15               Defendants.
16
17         Plaintiff Scott Johnson complains of Branham Center LLC, a California
18   Limited Liability Company; and Thuy Truong; and alleges as follows:
19
20     PARTIES:
21     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22   level C-5 quadriplegic. He cannot walk and also has significant manual
23   dexterity impairments. He uses a wheelchair for mobility and has a specially
24   equipped van.
25     2. Defendant Branham Center LLC owned the real property located at or
26   about 1576 Branham Ln, San Jose, California, in July 2019 and July 2020.
27     3. Defendant Branham Center LLC owns the real property located at or
28   about 1576 Branham Ln, San Jose, California, currently.


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     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 2 of 10




1      4. Defendant Thuy Truong owned Boba Pub located at or about 1568
2    Branham Ln, San Jose, California, in July 2019 and July 2020.
3      5. Defendant Thuy Truong owns Boba Pub located at or about 1568
4    Branham Ln, San Jose, California, currently.
5      6. Plaintiff does not know the true names of Defendants, their business
6    capacities, their ownership connection to the property and business, or their
7    relative responsibilities in causing the access violations herein complained of,
8    and alleges a joint venture and common enterprise by all such Defendants.
9    Plaintiff is informed and believes that each of the Defendants herein is
10   responsible in some capacity for the events herein alleged, or is a necessary
11   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
12   the true names, capacities, connections, and responsibilities of the Defendants
13   are ascertained.
14
15     JURISDICTION & VENUE:
16     7. The Court has subject matter jurisdiction over the action pursuant to 28
17   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
18   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
19     8. Pursuant to supplemental jurisdiction, an attendant and related cause
20   of action, arising from the same nucleus of operative facts and arising out of
21   the same transactions, is also brought under California’s Unruh Civil Rights
22   Act, which act expressly incorporates the Americans with Disabilities Act.
23     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
24   founded on the fact that the real property which is the subject of this action is
25   located in this district and that Plaintiff's cause of action arose in this district.
26
27     FACTUAL ALLEGATIONS:
28     10. Plaintiff went to Boba Pub in July 2019 (twice) and July 2020 with the


                                               2

     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 3 of 10




1    intention to avail himself of its goods motivated in part to determine if the
2    defendants comply with the disability access laws.
3      11. Boba Pub is a facility open to the public, a place of public
4    accommodation, and a business establishment.
5      12. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
6    to provide wheelchair accessible parking in conformance with the ADA
7    Standards as it relates to wheelchair users like the plaintiff.
8      13. Boba Pub provides parking to its customers but fails to provide
9    wheelchair accessible parking.
10     14. A problem that plaintiff encountered is that there were slopes in the
11   parking space marked and reserved for persons with disabilities that exceeded
12   2.1%.
13     15. Plaintiff believes that there are other features of the parking that likely
14   fail to comply with the ADA Standards and seeks to have fully compliant
15   parking available for wheelchair users.
16     16. On information and belief the defendants currently fail to provide
17   wheelchair accessible parking.
18     17. Additionally, on the dates of the plaintiff’s visits, the defendants failed
19   to provide wheelchair accessible door hardware in conformance with the ADA
20   Standards as it relates to wheelchair users like the plaintiff.
21     18. Boba Pub provides door hardware to its customers but fails to provide
22   wheelchair accessible door hardware.
23     19. A problem that plaintiff encountered is that the entrance door hardware
24   had a pull bar style handle that required that grasping to operate.
25     20. Plaintiff believes that there are other features of the door hardware that
26   likely fail to comply with the ADA Standards and seeks to have fully compliant
27   door hardware available for wheelchair users.
28     21. On information and belief the defendants currently fail to provide


                                              3

     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 4 of 10




1    wheelchair accessible door hardware.
2      22. Moreover, on the dates of the plaintiff’s visits, the defendants failed to
3    provide wheelchair accessible restrooms in conformance with the ADA
4    Standards as it relates to wheelchair users like the plaintiff.
5      23. Boba Pub provides restrooms to its customers but fails to provide
6    wheelchair accessible restrooms.
7      24. A few problems that plaintiff encountered is that the restroom door
8    hardware had a traditional round knob handle. The restroom mirror was too
9    high. Additionally, the restroom sink had a cabinet style sink.
10     25. Plaintiff believes that there are other features of the restrooms that
11   likely fail to comply with the ADA Standards and seeks to have fully compliant
12   restrooms available for wheelchair users.
13     26. On information and belief the defendants currently fail to provide
14   wheelchair accessible restrooms.
15     27. Additionally, on the dates of the plaintiff’s visits, the defendants failed
16   to provide wheelchair accessible dining surfaces in conformance with the ADA
17   Standards as it relates to wheelchair users like the plaintiff.
18     28. Boba Pub provides dining surfaces to its customers but fails to provide
19   wheelchair accessible dining surfaces.
20     29. The problem that plaintiff encountered is the lack of sufficient knee or
21   toe clearance under the dining surfaces for wheelchair users.
22     30. Plaintiff believes that there are other features of the dining surfaces that
23   likely fail to comply with the ADA Standards and seeks to have fully compliant
24   dining surfaces available for wheelchair users.
25     31. On information and belief the defendants currently fail to provide
26   wheelchair accessible dining surfaces.
27     32. Finally, on the dates of the plaintiff’s visits, the defendants failed to
28   provide wheelchair accessible service counters in conformance with the ADA


                                              4

     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 5 of 10




1    Standards as it relates to wheelchair users like the plaintiff.
2      33. Boba Pub provides service counters to its customers but fails to provide
3    wheelchair accessible service counters.
4      34. A problem that plaintiff encountered was that the service counter was
5    too high and there was no lowered portion of the service counter suitable for
6    wheelchair users.
7      35. Plaintiff believes that there are other features of the service counters
8    that likely fail to comply with the ADA Standards and seeks to have fully
9    compliant service counters available for wheelchair users.
10     36. On information and belief the defendants currently fail to provide
11   wheelchair accessible service counters.
12     37. These barriers relate to and impact the plaintiff’s disability. Plaintiff
13   personally encountered these barriers.
14     38. As a wheelchair user, the plaintiff benefits from and is entitled to use
15   wheelchair accessible facilities. By failing to provide accessible facilities, the
16   defendants denied the plaintiff full and equal access.
17     39. The failure to provide accessible facilities created difficulty and
18   discomfort for the Plaintiff.
19     40. The defendants have failed to maintain in working and useable
20   conditions those features required to provide ready access to persons with
21   disabilities.
22     41. The barriers identified above are easily removed without much
23   difficulty or expense. They are the types of barriers identified by the
24   Department of Justice as presumably readily achievable to remove and, in fact,
25   these barriers are readily achievable to remove. Moreover, there are numerous
26   alternative accommodations that could be made to provide a greater level of
27   access if complete removal were not achievable.
28     42. Plaintiff will return to Boba Pub to avail himself of its goods and to


                                              5

     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 6 of 10




1    determine compliance with the disability access laws once it is represented to
2    him that Boba Pub and its facilities are accessible. Plaintiff is currently
3    deterred from doing so because of his knowledge of the existing barriers and
4    his uncertainty about the existence of yet other barriers on the site. If the
5    barriers are not removed, the plaintiff will face unlawful and discriminatory
6    barriers again.
7      43. Given the obvious and blatant nature of the barriers and violations
8    alleged herein, the plaintiff alleges, on information and belief, that there are
9    other violations and barriers on the site that relate to his disability. Plaintiff will
10   amend the complaint, to provide proper notice regarding the scope of this
11   lawsuit, once he conducts a site inspection. However, please be on notice that
12   the plaintiff seeks to have all barriers related to his disability remedied. See
13   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
14   encounters one barrier at a site, he can sue to have all barriers that relate to his
15   disability removed regardless of whether he personally encountered them).
16
17   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
18   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
19   Defendants.) (42 U.S.C. section 12101, et seq.)
20     44. Plaintiff re-pleads and incorporates by reference, as if fully set forth
21   again herein, the allegations contained in all prior paragraphs of this
22   complaint.
23     45. Under the ADA, it is an act of discrimination to fail to ensure that the
24   privileges, advantages, accommodations, facilities, goods and services of any
25   place of public accommodation is offered on a full and equal basis by anyone
26   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
27   § 12182(a). Discrimination is defined, inter alia, as follows:
28             a. A failure to make reasonable modifications in policies, practices,


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     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 7 of 10




1                or procedures, when such modifications are necessary to afford
2                goods,      services,   facilities,   privileges,   advantages,   or
3                accommodations to individuals with disabilities, unless the
4                accommodation would work a fundamental alteration of those
5                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
6             b. A failure to remove architectural barriers where such removal is
7                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
8                defined by reference to the ADA Standards.
9             c. A failure to make alterations in such a manner that, to the
10               maximum extent feasible, the altered portions of the facility are
11               readily accessible to and usable by individuals with disabilities,
12               including individuals who use wheelchairs or to ensure that, to the
13               maximum extent feasible, the path of travel to the altered area and
14               the bathrooms, telephones, and drinking fountains serving the
15               altered area, are readily accessible to and usable by individuals
16               with disabilities. 42 U.S.C. § 12183(a)(2).
17     46. When a business provides facilities such as parking, it must provide
18   accessible parking.
19     47. Here, accessible parking has not been provided in conformance with the
20   ADA Standards.
21     48. When a business provides facilities such as door hardware, it must
22   provide accessible door hardware.
23     49. Here, accessible door hardware has not been provided in conformance
24   with the ADA Standards.
25     50. When a business provides facilities such as restrooms, it must provide
26   accessible restrooms.
27     51. Here, accessible restrooms have not been provided in conformance with
28   the ADA Standards.


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     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 8 of 10




1      52. When a business provides facilities such as dining surfaces, it must
2    provide accessible dining surfaces.
3      53. Here, accessible dining surfaces have not been provided in
4    conformance with the ADA Standards.
5      54. When a business provides facilities such as service counters, it must
6    provide accessible service counters.
7      55. Here, accessible service counters have not been provided in
8    conformance with the ADA Standards.
9      56. The Safe Harbor provisions of the 2010 Standards are not applicable
10   here because the conditions challenged in this lawsuit do not comply with the
11   1991 Standards.
12     57. A public accommodation must maintain in operable working condition
13   those features of its facilities and equipment that are required to be readily
14   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
15     58. Here, the failure to ensure that the accessible facilities were available
16   and ready to be used by the plaintiff is a violation of the law.
17
18   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
19   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
20   Code § 51-53.)
21     59. Plaintiff repleads and incorporates by reference, as if fully set forth
22   again herein, the allegations contained in all prior paragraphs of this
23   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
24   that persons with disabilities are entitled to full and equal accommodations,
25   advantages, facilities, privileges, or services in all business establishment of
26   every kind whatsoever within the jurisdiction of the State of California. Cal.
27   Civ. Code §51(b).
28     60. The Unruh Act provides that a violation of the ADA is a violation of the


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     Complaint
       Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 9 of 10




1    Unruh Act. Cal. Civ. Code, § 51(f).
2       61. Defendants’ acts and omissions, as herein alleged, have violated the
3    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
4    rights to full and equal use of the accommodations, advantages, facilities,
5    privileges, or services offered.
6       62. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
7    discomfort or embarrassment for the plaintiff, the defendants are also each
8    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
9    (c).)
10      63. Although the plaintiff encountered frustration and difficulty by facing
11   discriminatory barriers, even manifesting itself with minor and fleeting
12   physical symptoms, the plaintiff does not value this very modest physical
13   personal injury greater than the amount of the statutory damages.
14
15             PRAYER:
16             Wherefore, Plaintiff prays that this Court award damages and provide
17   relief as follows:
18           1. For injunctive relief, compelling Defendants to comply with the
19   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
20   plaintiff is not invoking section 55 of the California Civil Code and is not
21   seeking injunctive relief under the Disabled Persons Act at all.
22           2. Damages under the Unruh Civil Rights Act, which provides for actual
23   damages and a statutory minimum of $4,000 for each offense.
24           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
25   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
26
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     Complaint
      Case 5:20-cv-08266-BLF Document 1 Filed 11/24/20 Page 10 of 10



     Dated: November 16, 2020     CENTER FOR DISABILITY ACCESS
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3                                 By: _______________________
4                                       Amanda Seabock, Esq.
                                        Attorney for plaintiff
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     Complaint
